                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

FRANKLIN P. COLBERT,                                   )
                                                       )
                 Plaintiff,                            )
                                                       )
        v.                                             )       Case No. 20-cv-00545-SRB
                                                       )
ALDI,                                                  )
                                                       )
                 Defendant.                            )

                                              ORDER

        On July 14, 2020, this Court denied Plaintiff Franklin P. Colbert’s Application for Leave

to File Action Without Payment of Fees with Affidavit of Financial Status in Support (Doc. #1)

and directed Plaintiff to pay the initial filing fee on or before September 14, 2020. (Doc. #3.)

Plaintiff failed to pay the initial filing fee as directed. On October 20, 2020, this Court directed

Plaintiff to show cause on or before November 3, 2020, explaining why this case should not be

dismissed for failure to comply with this Court’s prior Orders. (Doc. #4.) The Court advised

Plaintiff that failure to show cause would result in dismissal of this case without further notice. As

of November 5, 2020, Plaintiff has failed to show cause as previously directed by this Court.

        Accordingly, Plaintiff’s case is hereby DISMISSED without prejudice for failure to

prosecute and for failure to comply with this Court’s Orders. See Fed. R. Civ. P. 41(b).

        IT IS SO ORDERED.
                                                      /s/ Stephen R. Bough
                                                      STEPHEN R. BOUGH
                                                      UNITED STATES DISTRICT JUDGE

Dated: November 5, 2020




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